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      2
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      3   Sacramento, CA 95814

      4   Attorney for Deleisha Gilbert
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      8                      IN THE UNITED STATES DISTRICT COURT
      9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
     10

     11   UNITED STATES OF AMERICA,                    ) Case No. 2:03-cr-00371-MCE
                                                       )
     12               Plaintiff,                       ) STIPULATION AND ORDER:
                                                       ) EXCLUSION OF TIME
     13         v.                                     )
                                                       )
     14   DELEISHA GILBERT,                            )
                                                       )
     15               Defendants.                      )
                                                       )
     16

     17
                IT IS HEREBY STIPULATED by and between the parties hereto
     18
          through their respective counsel, William S. Wong, Assistant
     19
          United States Attorney, attorney for Plaintiff and Kresta Daly,
     20

     21   attorney for defendant Deleisha Gilbert, that the previously

     22   scheduled hearing date of January 29, 2009, be vacated and the
     23
          matter set for hearing on February 26, 2009, at 9:00 a.m.
     24
                This continuance is requested due as the parties are
     25
          actively involved in negotiations which are expected to resolve
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          this matter.      Accordingly, all counsel and the defendant agree
     27
          that time under the Speedy Trial Act from the date this
     28
          stipulation is lodged, through January 29, 2009, should be


                                                   1



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      1   excluded in computing time within which trial must commence
      2   under the Speedy Trial Act, pursuant to Title 18 U.S.C. §
      3   3161(H)(8)(b)(iv) and Local Code T4.
      4   DATED:    January 26, 2009             Respectfully submitted,
      5                                            s/Kresta Daly_____________
                                                 KRESTA DALY
      6                                          Attorney for Defendant
                                                 DELEISHA GILBERT
      7

      8
                                                   s/Kresta Daly_____________
      9   DATED:    January 26, 2009             WILLIAM WONG
                                                 Assistant U.S. Attorney
     10                                          Attorney for Plaintiff
     11

     12

     13
                                              O R D E R
     14
                IT IS SO ORDERED.        Time is excluded in the interests of
     15

     16   justice pursuant to 18 U.S.C. § 3161(H)(8)(B)(iv) and Local Code

     17   T4.
     18   DATED: January 28, 2009
     19
                                             __________________________________
     20                                      MORRISON C. ENGLAND, JR
                                             UNITED STATES DISTRICT JUDGE
     21

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